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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


  THOMAS L. SHAFER,                          )
                                             )
                                             )
  v.                                         )    Criminal No. 03-90-P-S
                                             )
                                             )
  UNITED STATES OF AMERICA.                  )
                                             )



                         ORDER ACCEPTING THE
               RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


         No objections having been filed to the Magistrate Judge's Recommended

  Decision (Docket # 60) filed April 12, 2005, the Recommended Decision is accepted.

         Accordingly, it is ORDERED that Thomas Shafer’s Motion to Modify Sentence

  (Docket # 57) be DENIED.



                                                    _/s/ George Z. Singal__________
                                                    Chief United States District Judge

  Dated this 5th day of May, 2005.
